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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN
                                  MADISON DIVISION


 SHEANA IRENE BINETTE,
                                                            CIVIL COMPLAINT
              Plaintiff,

 v.                                                      CASE NO. 3:19-cv-00267

 MASON COMPANIES, INC. d/b/a K.
 JORDAN,                                               DEMAND FOR JURY TRIAL

              Defendant.


                                          COMPLAINT

         NOW comes SHEANA IRENE BINETTE (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of MASON

COMPANIES, INC. d/b/a K. JORDAN (“Defendant”), as follows:

                                       NATURE OF THE ACTION

      1. Plaintiff brings this action seeking redress for Defendant’s violations of the Telephone

Consumer Protection Act (“TCPA”) pursuant to 47 U.S.C. § 227 et seq., and the Bankruptcy

Discharge Injunction (“Discharge Injunction”) pursuant to 11 U.S.C. § 524, for Defendant’s

unlawful conduct.

                                             JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C. § 227, 28 U.S.C. §§ 1331 and 1337, as the action arises

under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant resides in

Chippewa County, Wisconsin, which lies within the Western District of Wisconsin.


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                                             PARTIES

    4. Plaintiff is a consumer over-the-age of 18, and a “person” as defined by 47 U.S.C. §

153(39).

    5. Defendant is an online retailer of women’s products.1 Defendant is a corporation organized

under the laws of the state of Wisconsin, with its principal place of business located at 1251 1st

Avenue, Chippewa Falls, Wisconsin 54729-1691.

    6. Defendant is a “person” as defined by 47 U.S.C. § 153(39).

                                         BANKRUPTCY CASE

    7. Plaintiff purchased personal and household consumer goods from Defendant.

    8. Due to financial hardship, Plaintiff fell behind on her scheduled payments to Defendant,

thus incurring debt (“subject debt”).

    9. Thereafter, Plaintiff retained counsel to file for bankruptcy.

    10. Plaintiff contacted all of her creditors, including Defendant, and demanded that they stop

contacting her, and to contact her bankruptcy attorney instead.

    11. On September 7, 2018, Plaintiff filed a Chapter 7 bankruptcy petition in the United States

Bankruptcy Court, District of Nevada, Case Number 18-15398-abl (“bankruptcy”).

    12. Schedules E/F of the bankruptcy petition listed the subject debt, and further listed

Defendant as an entity to be provided notice regarding the subject debt.

    13. On September 10, 2018, by virtue of Defendant being listed in Plaintiff’s bankruptcy, the

Bankruptcy Noticing Center (“BNC”) served Defendant with notice of Plaintiff’s Chapter 7

Bankruptcy Case, Meeting of Creditors, & Deadlines.


1
 https://www.kjordan.com/?&mkwid=stFtMTUNT_dc&pcrid=74806018272&pkw=k%20.%20jordan&pmt=e&slid
=tFtMTUNT&gclid=EAIaIQobChMIwfbUoqmn3wIVg0ZeCh115AtGEAAYASAAEgKrBPD_BwE

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   14. On December 3, 2018, the Bankruptcy Court entered an Order of Discharge in Plaintiff’s

bankruptcy case of all dischargeable debts, including the subject debt.

   15. The Order of Discharge expressly stated:

            “This order means that no one may make any attempt to collect a
            discharged debt from the debtors personally. For example, creditors
            cannot sue, garnish wages, assert a deficiency, or otherwise try to collect
            from the debtors personally on discharged debts. Creditors cannot contact
            the debtors by mail, phone, or otherwise in any attempt to collect the debt
            personally. Creditors who violate this order can be required to pay debtors
            damages and attorney's fees.”

   16. Defendant was served with the Order of Discharge on December 5, 2018.

   17. Pursuant to 11 U.S.C. §524, the Order of Discharge invoked the protections of the discharge

injunction, prohibiting any acts to collect upon the subject debt by Defendant.

   18. Plaintiff’s personal liability on the subject debt was extinguished via her bankruptcy

discharge, thus terminating any business and contractual relationship Plaintiff may have had with

Defendant or any subsequent owners of the subject debt.

                        DEFENDANT’S POST-DISCHARGE COMMUNICATIONS

   19. Throughout Plaintiff’s entire bankruptcy case, Plaintiff received multiple collection calls

to her cellular phone, (702) XXX-6107, in the form of pre-recorded messages from Defendant,

attempting to collect upon the subject debt.

   20. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -6107. Plaintiff is and has always been financially

responsible for the cellular phone and its services.

   21. Defendant’s attempts to collect upon the subject debt occurred both during Plaintiff’s

active bankruptcy, as well as after the bankruptcy discharge.




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   22. Defendant has mainly used the phone number (608) 324-9111 when placing phone calls to

Plaintiff’s cellular phone.

   23. Upon information and belief, the above-referenced phone number is regularly utilized by

Defendant during its debt collection activity.

   24. Nonetheless, Defendant placed not less than 20 phone calls using pre-recorded messages

to Plaintiff’s cellular phone without her consent. Several of Defendant’s phone calls were made

after the bankruptcy discharge.

   25. On at least one occasion, Defendant mailed Plaintiff a collection letter after the bankruptcy

discharge.

                                                 DAMAGES

   26. Plaintiff suffered from emotional distress due to Defendant’s unlawful attempts to collect

the discharged subject debt as she was led to believe that her bankruptcy had no legal effect. The

phone calls were highly confusing to Plaintiff.

   27. Plaintiff was unduly inconvenienced and harassed by Defendant’s unlawful attempts to

collect the discharged subject debt.

   28. Concerned about the violations of her rights and protections afforded by her bankruptcy

discharge, Plaintiff sought the assistance of counsel to ensure that Defendant’s collection efforts

ceased.

             COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   29. Plaintiff repeats and realleges paragraphs 1 through 28 as though fully set forth herein.

   30. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) or pre-recorded messages

without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment



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which has the capacity...to store or produce telephone numbers to be called, using a random or

sequential number generator; and to dial such numbers.”

   31. Defendant used pre-recorded messages in connection with its communications directed

towards Plaintiff’s cellular phone. Defendant violated the TCPA by placing at least 20 phone calls

to Plaintiff’s cellular phone using pre-recorded messages without her consent. Any consent

Plaintiff may have given to Defendant by virtue of incurring the subject debt was explicitly

revoked by her demands to stop contacting her.

   32. The calls placed by Defendant to Plaintiff were regarding business transactions and not for

emergency purposes as defined by the TCPA under 47 U.S.C. § 227(b)(1)(A)(i).

   33. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, SHEANA IRENE BINETTE, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
      to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


                     COUNT II – VIOLATIONS OF THE DISCHARGE INJUNCTION

   34. Plaintiff restates and realleges paragraphs 1 through 33 as though fully set forth herein.

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       a. Section 11 U.S.C. § 524(a)(2)

   35. Pursuant to 11 U.S.C. § 524(a)(2), a discharge order “operates as an injunction” against

acts to collect discharged debts.

   36. “Section 524(a)(2) enjoins an act to collect a discharged debt, so a creditor that attempts to

collect a discharged debt is in contempt of the bankruptcy court that issued the order of discharge.”

Cox v. Zale Delaware, Inc., 239 F.3d 910, 915 (7th Cir. 2001).

   37. Punitive damages may be awarded for violations of the bankruptcy discharge, and are

especially appropriate when a party acts in “clear disregard and disrespect of the bankruptcy laws.”

In re Vazquez, 221 B.R. 222, 231 (Bankr. N.D. Ill. 1998). Punitive damages of four to ten times

the amount of compensatory damages may be appropriate for willful violations of the bankruptcy

injunction. Id.

   38. Defendant violated the discharge injunction by willfully attempting to collect the subject

debt with actual notice of Plaintiff’s bankruptcy and the discharged status of the subject debt.

   39. Plaintiff informed Defendant of her bankruptcy and Defendant was notified of the same by

the BNC. Upon discharge of the bankruptcy, Defendant received written notice of the discharge

by the BNC.

   40. Defendant then attempted to unlawfully collect upon the discharged subject debt, by

placing collection calls to Plaintiff’s cellular phone.

   41. As such, it is clear that no matter what protections Plaintiff sought under the law, Defendant

continued with its harassing conduct in a reckless disregard of the same.

   42. Defendant should have implemented procedures and trained its employees in order to

discourage and also prevent willful and wanton violations of the Bankruptcy Code.




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   43. Defendant’s conduct demonstrates that it has no such system in place to protect the rights

of innocent consumers under the protection of the Bankruptcy Code.

   44. Based on the broad language of the Bankruptcy Code, Defendant willfully sought to collect

a debt from Plaintiff in violation of the discharge injunction, thus warranting sanctions and punitive

damages to deter future conduct of a similar nature.

   WHEREFORE, Plaintiff, SHEANA IRENE BINETTE, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Hold Defendant in civil contempt of the Order of Discharge pursuant to 11 U.S.C. §§ 524
      and 105;

   b. Order Defendant to pay Plaintiff for her actual damages, in an amount, as a result of the
      civil contempt of the Order of Discharge pursuant to 11 U.S.C. §§ 524 and 105;

   c. Order Defendant to pay punitive damages, in an amount, for the civil contempt of the
      Order of Discharge pursuant to 11 U.S.C. §§ 524 and 105;

   d. Order Defendant to pay Plaintiff her reasonable legal fees and expenses for violations of
      the Order of Discharge pursuant to 11 U.S.C. §§ 524 and 105; and

   e. Provide such other and further relief as this Honorable Court may deem just and proper;

Dated: April 8, 2019                                    Respectfully submitted,

s/ Nathan C. Volheim                                  s/Taxiarchis Hatzidimitriadis
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